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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                 §
                                                       §
ERIN ENERGY CORPORATION, et al., 1                     §                       Case No. 18-32106
                                                       §
                         Debtors.                      §                          (Chapter 11)
                                                       §
                                                       §                    (Jointly Administered)

                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
               COMBINED WITH REQUEST FOR ALL COPIES PURSUANT
                  TO BANKRUPTCY RULE 2002(a) AND PLEADINGS
                PURSUANT TO BANKRUPTCY RULES 3017(a) AND 9007

         Snow Spence Green LLP, on behalf of Baker Hughes, a GE Company, LLC, requests that

all notices given or required to be given in this case and in any cases consolidated herewith, and

all papers served or required to be served in this case be given to and served upon:

                                            W. Ross Spence
                                        Snow Spence Green LLP
                                     2929 Allen Parkway, Suite 2800
                                           Houston, TX 77019
                                             (713) 335-4800
                                          (713) 335-4848 (Fax)
                                       ross@snowspencelaw.com

                                               With a copy to:

                                         Christopher J. Ryan
                                  Baker Hughes, a GE Company, LLC
                                           P.O. Box 4740
                                       Houston, TX 77210-4740

         This request encompasses all notices, copies, and pleadings referred to in Rules 2002, 3017,

and 9007 of the Bankruptcy Rules of Procedure, including but not limited to notices of any orders,



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin Petroleum
Nigeria Limited (“EPNL”). The Debtors’ service address is : 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
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motions, demands, complaints, petitions, pleadings, requests, applications, and any other

documents brought before this court in this case, whether formal or informal, written or oral, or

transmitted or conveyed by mail, delivery, telephone, telegram, telex, or otherwise, which affect

or seek to affect this case.

        Please take further notice that the foregoing request for notice and service of papers is not

a submission by Baker Hughes, a GE Company, LLC to the jurisdiction of the Bankruptcy Court

nor a waiver of its respective rights to: (a) receive service of process for any complaint or

subpoena; (b) have final orders in non-core matters entered only after de novo review by a District

Judge; (c) trial by jury in any proceedings so triable in these cases, controversies, or proceedings

related to these cases; (d) have the District Court withdraw reference in any matter subject to

mandatory or discretionary withdrawal; or (e) waive any other rights, claims, actions, defenses,

setoffs, or recoupments to which Baker Hughes, a GE Company, LLC is, or may be entitled, in

law or in equity, all of which are expressly reserved.

Date: May 21, 2018                            Respectfully submitted,

                                              SNOW SPENCE GREEN LLP

                                              By:       /s/ Ross Spence
                                                     W. Ross Spence
                                                     ross@snowspencelaw.com
                                                     State Bar No. 18918400
                                                     2929 Allen Parkway, Suite 2800
                                                     Houston, Texas 77019
                                                     (713) 335-4800
                                                     (713) 335-4848 (Fax)

                                              ATTORNEYS FOR BAKER HUGHES, A GE
                                              COMPANY, LLC




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                                        CERTIFICATE OF SERVICE

       The undersigned certifies that on May 21, 2018, a true and correct copy of this document
was served via the Court’s electronic case filing system upon the parties listed below and all parties
requesting electronic notice of all filings.

Debtors:

Erin Energy Corporation
Erin Energy Limited
Erin Energy Kenya Limited
Erin Petroleum Nigeria Limited
1330 Post Oak Boulevard
Suite 2250
Houston, TX 77056

Debtors’ Counsel:

Matthew S. Okin
David L. Curry, Jr.
John Thomas Oldham
Ryan A. O’Connor
OKIN ADAMS LLP
1113 Vine St, Suite 201
Houston, Texas 77002
Tel: 713.228.4100
Fax: 888.865.2118

US Trustee:

Christine March,
Sr. Assistant U.S. Trustee
Stephen Statham, Trial Attorney
Hector Duran, Trial Attorney
Office of the U.S. Trustee
515 Rusk, Suite 3516
Houston, TX 77002


                                                        /s/ Ross Spence
                                                        Ross Spence



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